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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                               –Northern Division–


 CONSTANCE COLLINS, ET AL.,

                   Plaintiff

                     –v–                                 Case No. 8:20-cv-01225

 TRI-STATE ZOOLOGICAL PARK OF
 WESTERN MARYLAND, INC., et al.,

                 Defendants.


                       RESPONSE TO SHOW CAUSE ORDER
                             BY NEVIN L. YOUNG

       Now Comes the undersigned counsel and responds to the Show Cause Order

issued by this Court on February 16, 2022, and states:

       1.      The undersigned has now filed, on this same day, a motion to withdraw

from this matter for reasons unrelated to the pending show cause order, for which notice

was given to Mr. Candy and Mr. Pierce on February 9, 2022. Relations between Mr.

Pierce and the undersigned are such that it seems advisable that counsel file separate

responses rather than collaborate on a joint response to the show cause order.

       2.      The Pro Hac Vice Motion in this case was signed and submitted by the

undersigned counsel after receiving a copy of the motion, signed by John Pierce, via

email from his employee Emily Lambert, on November 29, 2021.




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       3.      In an email exchange with Ms. Lambert, in response to the email attaching

the signed Pro Hac Vice Motion, the undersigned wrote “[a]s long as you can tell me

definitively that Mr. Pierce affirms his statements as true here, and that he is going to pay

the fee for PHV admission, I can sign and file. I also need to know that your office will

be taking primary responsibility for the case from now on.” Ms. Lambert then responded

with a signed email that stated only “Yes I absolutely can.”

       4.      Based upon the fact that Mr. Pierce had signed the motion, and the

additional affirmation by Ms. Lambert, purporting to verify that Mr. Pierce had affirmed

the truth of his statements, the undersigned then signed and submitted the motion, and

believes it was reasonable to do so at the time.

       5.      The Court’s show cause order issued today contains alleged matters that are

not and were not within the knowledge of undersigned counsel at the time of the

submission of the Pro Hac Vice motion or at any time up until the last two days, and

therefore the undersigned does not know what Mr. Pierce’s response will be, but Mr.

Pierce has assured the undersigned that he will be filing a response separately.

                                           Respectfully Submitted,


                                           ____s/Nevin L. Young________
                                           Nevin L. Young
                                           Fed Bar. ID No. 28604
                                           170 West Street
                                           Annapolis Maryland 21401
                                           410-353-9210
                                           nevinyounglaw@gmail.com




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                              CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 16th day of February, 2022, I served the foregoing
upon the counsel and/or parties set forth below, with all counsel having agreed to service
by electronic means, upon:

Adam Abelson, Esquire
Zuckerman Spaeder, LLP
100 East Pratt Street, 24th Floor
Baltimore MD 21202

Marcos Hasbun, Esquire
101 East Kennedy Blvd.
Tampa Florida 33602

Zeynep Graves, Esquire
Caitlin Hawks, Esquire
PETA Legal Foundation
2154 West Sunset Blvd.
Los Angeles, California 90026

                                                 ____s/Nevin L. Young________
                                                 Nevin L. Young




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